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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,              )          4:03CR3014
                                       )
        Plaintiff,                     )
                                       )          JUDGMENT
      vs.                              )
                                       )
HA T. T. NGUYEN,                       )
                                       )
        Defendant.                     )


      Pursuant to the memorandum and order entered this date,

      JUDGMENT is entered for the United States of America and against Ha T. T.
Nguyen providing that she shall take nothing and her second § 2255 motion is
dismissed.

      April 25, 2006.                      BY THE COURT:

                                           s/ Richard G. Kopf
                                           United States District Judge
